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       Attorneys for Plaintiffs,
  18   MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
  19                      IN THE UNITED STATES DISTRICT COURT
  20                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
  21                                SOUTHERN DIVISION
  22   MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
       a Delaware corporation; and             )
  23   CERCACOR LABORATORIES,                  ) DECLARATION OF KENDALL M.
       INC. a Delaware corporation             ) LOEBBAKA IN SUPPORT OF
  24                                           ) MASIMO’S FIRST VOLUME OF
                   Plaintiffs,                 ) DEPOSITION DESIGNATIONS
  25                                           )
             v.                                )
  26                                           )
       APPLE INC., a California corporation    )
  27                                           )
                   Defendant.                  )
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   1         I, Kendall M. Loebbaka, hereby declare:
   2         1.    I am a partner in the law firm of Knobbe, Martens, Olson & Bear,
   3   LLP, and I am licensed to practice law in the State of California. I am a member
   4   of the bar of this Court, and Counsel of record for Plaintiffs Masimo Corporation
   5   (“Masimo”) and Cercacor Laboratories, Inc. (“Cercacor”) (collectively
   6   “Plaintiffs”) in the above-captioned action. I have personal knowledge of the
   7   matters set forth herein and, if I am called upon to testify, I could testify
   8   competently thereto.
   9         2.    I submit this Declaration in support of Masimo’s First Volume of
  10   Deposition Designations.
  11         3.    Attached hereto as Exhibit A [filed under seal] is a true and
  12   correct copy of a clip report containing excerpts from the transcript of the
  13   deposition of Robert Mansfield taken on August 11, 2022.
  14         4.    Attached hereto as Exhibit B is a true and correct copy of an index
  15   of the deposition designations contained in Exhibit A.
  16         5.    Attached hereto as Exhibit C [filed under seal] is a true and
  17   correct copy of a clip report containing excerpts from the transcript of the
  18   deposition of David Tom taken on August 11, 2022.
  19         6.    Attached hereto as Exhibit D is a true and correct copy of an index
  20   of the deposition designations contained in Exhibit C.
  21         7.    Attached hereto as Exhibit E [filed under seal] is a true and correct
  22   copy of a clip report containing excerpts from the transcript of the deposition of
  23   Eugene Kim taken on July 29, 2022.
  24         8.    Attached hereto as Exhibit F is a true and correct copy of an index
  25   of the deposition designations and objections contained in Exhibit E.
  26         9.    Attached hereto as Exhibit G [filed under seal] is a true and
  27   correct copy of a clip report containing excerpts from the transcript of the
  28   deposition of Denby Sellers taken on June 24, 2022.
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   1              10.   Attached hereto as Exhibit H is a true and correct copy of an index
   2   of the deposition designations and objections contained in Exhibit G.
   3              11.   Attached hereto as Exhibit I [filed under seal] is a true and correct
   4   copy of a clip report containing excerpts from the transcript of the deposition of
   5   Denby Sellers taken on December 15, 2021.
   6              12.   Attached hereto as Exhibit J is a true and correct copy of an index
   7   of the deposition designations and objections contained in Exhibit I.
   8              13.   Attached hereto as Exhibit K [filed under seal] is a true and
   9   correct copy of a clip report containing excerpts from the transcript of the
  10   deposition of Jeff Williams taken on August 9, 2022.
  11              14.   Attached hereto as Exhibit L is a true and correct copy of an
  12   index of the deposition designations and objections contained in Exhibit K.
  13              I declare under penalty of perjury under the laws of the United States
  14   that the foregoing is true and correct.
  15              Executed on April 4, 2023 at Irvine, California.
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  17                                              /s/ Kendall M. Loebbaka
  18                                                Kendall M. Loebbaka

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